                       Case 2:21-mj-00235-CW Document 1 Filed 02/09/21 Page 1 of 2
AO 442 (REV. 12/85)




                             UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS, DEL RIO DIVISION

United States of America                                    §
                                                            § CRIMINAL COMPLAINT
vs.                                                         § CASE NUMBER: DR:21-M -00235(1)
                                                            §
(1) Mario Fernando Hernandez-Mendez                         §



                I, the undersigned complainant being duly sworn state the following is true and correct to the best

of my knowledge and belief. On or about February 03, 2021 in Maverick county, in the WESTERN

DISTRICT OF TEXAS defendant(s) did, Mario Fernando HERNANDEZ-Mendez, an alien, entered, or was

found in the United States at or near Uvalde, Texas, after having been denied admission, excluded, deported,

or removed from the United States through New Orleans, La on 04/17/2015, and not having obtained the

express consent of the Secretary of the Department of Homeland Security or the Attorney General of the

United States to reapply for admission thereto. Defendant being voluntarily in the United States unlawfully ,

a felony,



in violation of Title             8            United States Code, Section(s)     1326(a)(1)

.

                I further state that I am a(n) Border Patrol Agent and that this complaint is based on the

following facts: "The defendant, Mario Fernando HERNANDEZ-Mendez, was arrested by Border Patrol Agents,

on February 03, 2021 for being an alien illegally present in the United States.

Continued on the attached sheet and made a part of hereof.




Sworn to before me and subscribed in my presence,
                                                                           Signature of Complainant
                                                                           Melton, Lance T.
                                                                           Border Patrol Agent

02/09/2021                                                            at   DEL RIO, Texas
File Date                                                                  City and State



COLLIS WHITE                                                               ______________________________
UNITED STATES MAGISTRATE JUDGE                                             Signature of Judicial Officer
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CONTINUATION OF CRIMINAL COMPLAINT

                                WESTERN DISTRICT OF TEXAS
      UNITED STATES OF AMERICA

                      vs.                             Case Number: DR:21-M -00235(1)

    (1) Mario Fernando Hernandez-Mendez

Continuation of Statement of Facts:

Investigation and records of the Bureau of Citizenship and Immigration Services reveal the defendant was
previously deported from the United States on 04/17/2015 through New Orleans, La. The defendant was found in
the Western District of Texas without having obtained permission from the Secretary of Homeland Security or the
Attorney General of the United States to re-apply for admission after being deported. The defendant is unlawfully
present in the United States.
"




______________________________
Signature of Judicial Officer                                  Signature of Complainant
